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                                                                     USDC SDNY
                                                                     DOCUMENT
                                                                     ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                     DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                     DATE FILED: 12/13/2017
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NFL PROPERTIES LLC,                                               :
                                                                  :
                                                    Plaintiff, :
                                                                  :     1:17-cv-9190-GHW
                              -against-                           :
                                                                  :   NOTICE OF INITIAL
ZEIKOS, INC.,                                                     : PRETRIAL CONFERENCE
                                                                  :
                                                 Defendant. :
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GREGORY H. WOODS, United States District Judge:
         This case has been assigned to me for all purposes. It is hereby ORDERED that counsel
for all parties appear for an initial pretrial conference with the Court at the time and place listed
below. All pretrial conferences must be attended by the attorney who will serve as principal trial
counsel. Any open legal issues can be addressed at the conference.
        All parties are required to register promptly as filing users on ECF. Counsel are further
required to review and comply with the Court’s Individual Rules of Practice in Civil Cases
(“Individual Rules”) (available at the Court’s website, http://nysd.uscourts.gov/judge/Woods).
       Counsel are directed to confer with each other prior to the conference regarding settlement
and each of the other subjects to be considered at a Fed. R. Civ. P. 16 conference.
         Additionally, the parties are hereby ORDERED to submit via email
(WoodsNYSDChambers@nysd.uscourts.gov) a Proposed Civil Case Management Plan and
Scheduling Order in PDF format at least one week before the initial pretrial conference. The
parties shall use this Court’s form Proposed Case Management Plan and Scheduling Order available
at the Court’s website (http://nysd.uscourts.gov/judge/Woods).
         IT IS FURTHER ORDERED that the parties submit a joint letter to the Court advising the
Court on the status of the case at least one week before the initial pretrial conference. The
letter should be filed on ECF in accordance with the Court’s Individual Rules using the filing event
“Letter.” The status letter should not exceed six pages and should include the following:
    (1)    A brief statement of the nature of the case, the principal claims and defenses, and the
           major legal and factual issues that are most important to resolving the case, whether by
           trial, settlement or dispositive motion;

    (2)    A brief statement by plaintiff as to the basis of subject matter jurisdiction and venue, and
           a brief statement by each party as to the presence or absence of subject matter jurisdiction
           and venue. Statements shall include citations to relevant statutes. In addition, in cases for
           which subject matter jurisdiction is founded on diversity of citizenship, the parties shall
           comply with the Court’s Individual Rule 2(B)(ii);
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    (3)    A brief description of any (i) motions that any party seeks or intends to file, including the
            principal legal and other grounds in support of and opposition to the motion, (ii) pending
            motions, and (iii) other applications that are expected to be made at the status conference;

    (4)    A brief description of any discovery that has already taken place, and any discovery that is
            likely to be admissible under the Federal Rules of Evidence and material to proof of
            claims and defenses raised in the pleadings. (This is narrower than the general scope of
            discovery stated in Rule 26(b)(1));

    (5)    A computation of each category of damages claimed, see Fed. R. Civ. P. 26(a)(1)(A)(iii);

    (6)    A statement describing the status of any settlement discussions and whether the parties
            would like a settlement conference; and

    (7)    Any other information the parties believe may assist the Court in resolving the action.
        If this case has been settled or otherwise terminated, counsel are not required to appear,
provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination is
sent prior to the date of the conference via email to the Orders and Judgment Clerk at the following
email address: judgments@nysd.uscourts.gov.
       Any request for an extension or adjournment shall be made only by letter as provided in
Individual Rule 1(E) and must be received at least two business days before the deadline or
conference. Unless counsel are notified that the conference has been adjourned, it will be held as
scheduled.
        Counsel who have noticed an appearance as of the issuance of this order are directed (i) to
notify all other parties’ attorneys in this action by serving upon each of them a copy of this order
and the Court’s Individual Rules forthwith, and (ii) to file proof of such notice with the Court. If
unaware of the identity of counsel for any of the parties, counsel receiving this order are directed (i)
to serve a copy of this order and the Court’s Individual Rules upon that party, and (ii) to file proof
of such service with the Court.
     DUE DATE OF JOINT LETTER and PROPOSED CASE MANAGEMENT
PLAN: January 16, 2018.
        DATE AND PLACE OF CONFERENCE: January 23, 2018 at 10:00 a.m. in
Courtroom 12C of the United States District Court for the Southern District of New York, Daniel
Patrick Moynihan U.S. Courthouse at 500 Pearl Street, New York, New York, 10007.
           SO ORDERED.

 Dated: December 13, 2017                             _____________________________________
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 New York, New York                                            GREGORY
                                                               GREG GOR
                                                                      ORY H. H WOODS
                                                              United
                                                               nited States District Judge




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